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                            Case 1:19-mj-03608-UA Document 5 Filed 04/29/19 Page 1 of 8
    AO 98 (Rev. 12/11) Appearance Bond
                                                                                                             ORtG1NAL
~==========================================================================================


                                              UNITED STATES DISTRICT COURT
                                                                          forthe
                                                           Southern    District of New York

                        United States of America                              )
                                         v.                                   )                             19 MAG3608
                                                                              )
                            JOHN LAMBERT                                      )
                                  Defendant                                   )

                                                               APPEARANCE BOND

                                                               Defendant's Agreement
    I, _ _ _ _ _ JOHN LAMBERT_ _ _ _ _ (defendant), agree to follow every order of this court, or any
    court that considers this case, and I further agree that this bond may be forfeited ifl fail:
                ( IZI ) to appear for court proceedings;
                ( IZI ) if convicted, to surrender to serve a sentence that the court may impose; or
                ( IZI) to comply with all conditions set forth in the Order Setting Conditions of Release.

                                                                      Type of Bond
    ( IZI ) (1)   This is a personal recognizance bond.

    ( X ) (2) This is an unsecured bond of$                 20,000.0_Q_

    ( D ) (3)     This is a secured bond of$                                                , secured by:

             ( D)     (a) $ _ _               _   _   _ _ , in cash deposited with the court.

             (D )     (b) the agreement of the defendant and each surety to forfeit the following cash or other property
                      (describe the cash or other property, including claims on tt - such as a lien, mortgage, or loan - and attach proof of
                      ownership and value):


                     ----------------------                                                                                               ---
                      If this bond is secured by real property, documents to protect the secured interest may be filed of record.

             ( D ) (c)     a bail bond with a solvent surety (attach a copy of the bail bond, or describe it and identify the surety):




                                                           Forfeiture or Release of the Bond

    Forfeiture of the Bond. This appearance bond may be forfeited if the defendant does not comply with the above
    agreement. The court may immediately order the amount of the bond surrendered to the United States, including the
    security for the bond, if the defendant does not comply with the agreement. At the request of the United States, the court
    may order a judgment of forfeiture against the defendant and each surety for the entire amount of the bond, including
    interest and costs.
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                                                                                                                             Page2

;. AO 98 (Rev. 12/11) Appearance Bond



  Release of the Bond. The court may order this appearance bond ended at any time. This bond will be satisfied and the
  security will be released when either: (1) the defendant is found not guilty on all charges, or (2) the defendant reports to
  serve a sentence.

                                                            Declarations

  Ownership of the Property. I, the defendant - and each surety - declare under penalty 9f perjury that:
            (1)     all owners of the property securing this appearance bond are included on the bond;
            (2)     the property is not subject to claims, except as described above; and
            (3)     I will not sell the property, allow further claims to be made against it, or do anything to reduce its value
            while this appearance bond is in effect.

  Acceptance. I, the defendant - and each surety - have read this appearance bond and have either read all the conditions of
  release set by the court or had them explained to me. I agree to this Appearance Bond.




   I, the defendant - and each surety- declare under penalty of perjury that this information is true. (See 28 U.S.C.§ 1746.)


   Date: - - -
             4/29/19
               ----
                                                                              Defendant JOHN       LAMBERT siJ<nature -
                                                                                               '



                   Surety/property owner - printed name                         Surety/property owner - signature and date




                   Surety/property owner - printed name                         Surety/property owner - signature and date




                   Surety/property owner - printed name                         Surety/property owner - signature and date




   Date: 4/29/19


  Approv~d.

   Date:        4/29/19
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.,, AO 199A(Rev 12/11) OrderSettingConditionsofRelease                                                Page I of   _   _ Pages



                                      UNITED STATES DISTRJCT COURT
                                                                 for the
                                                     Southern   District of   New York



                     United States of America                        )
                                v.                                   )
                                                                     )        Case No.       19 MAG 3608
                       JOHN LAMBERT                                  )
                               Defendant                             )

                                       ORDER SETTING CONDITIONS OF RELEASE

  IT IS ORDERED that the defendant's release is subject to these conditions:

  (1)    The defendant must not violate federal, state, or local law while on release.

  (2)    The defendant must cooperate in the collection of a DNA sample if it is authorized by 42 U.S.C. § 14135a.

  (3)    The defendant must advise the court or the pretrial services office or supervising officer in writing before making
         any change of residence or telephone number.

   (4)   The defendant must appear in court as required and, if convicted, must surrender as directed to serve a sentence that
         the court may impose.

         The defendant must appear at:
                                                                                     Place




         on
                                                                    Date and Time


         If blank, defendant will be notified of next appearance.

   (5)   The defendant must sign an Appearance Bond, if ordered.
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A.P 199B (Rev. 12/11) Additional Condit10ns of Release                                                                                    Page     of       Pages
                                                      ADDITIONAL CONDITIONS OF RELEASE
          IT IS FURTHER ORDERED that the defendant's release is subject to the conditions marked below:

( 0)       (6)
             The defendant is placed in the custody of:
             Person or organization
             Address (only if above is an organization)
             City and state                                                                              Tel. No.
                               ------
who agrees to (a) supervise the defendant, (b) use every~ffort to assu;:;;-the defendant's appearance at all court proceedinMand (c) notify the court
immediately ifthe defendant violates a condition ofrelease or is no longer in the custodian's custody.

                                                                            Signed:
                                                                                                        Custodian                                       Date
( l8J )     (7) The defendant must:
          ( X ) (a) submit to supervision by and report for supervision to the PRETRIAL SERVICES AS DIRECTED
                     telephone number                            , no later than
          (    ) (b) continue or actively seek employment.
          ([8]) (c) continue or start an education program.
          ([8]) (d) surrender any passport to:       PRETRIAL SERVICES
          ([8]) (e) not obtain a passport or other international travel document.--   -- -- -- -- -- --    ---                                   --     -
          ( l8l )   (f) abide by the following restrictions on personal association, residence, or travel:   SDNY/EDNY, EASTERN DISTRICT OF TENN. AND
                                                                                                            ----                   ---------
                               THE JURISDICTION WITHIN WHICH THE DEFENDANT MUST TRAVEL TO APPEAR IN THE SDNY
                                                ------------------                                                                                   - -
          ( l8J )   (g) avoid all contact, directly or indirectly, with any person who is or may be a victim or witness'in the investigation or prosecution,
                        including: Victim/witnesses and co-defendants except in presence of counse_l_ __ __ _

          (0 )      (h) get medicalOr psychiatric treatment:

          (0 )      (i) return to custody each                  at            o'clock after being released at
                                                                                                                      -,-   -
                                                                                                                                o'clock for employment, schooling,
                        or the following purposes:

          (0 )      G) maintain residence at a halfway house or community corrections center, as the pretrial services office or supervising officer considers
                      necessary.
          ( X ) (k) not possess a firearm, destructive device, or other weapon.
          ( l8J ) (1) not use alcohol ( 0 ) at all ( l8J ) excessively.
          ( l8J ) (m) not use or unlawfully possess a narcotic drug or other controlled substances defined in 21 U.S.C. § 802, unless prescribed by a licensed
                      medical practitioner.
          ( X ) (n) submit to testing for a prohibited substance if required by the pretrial services office or supervising officer. Testing may be used with
                      random frequency and may include urine testing, the wearing of a sweat patch, a remote alcohol testing system, and/or any form of
                      prohibited substance screening or testing. The defendant must not obstruct, attempt to obstruct, or tamper with the efficiency and
                      accuracy of prohibited substance screening or testing.
          ( X ) (o) participate in a program of inpatient or outpatient substance abuse therapy and counseling if directed by the pretrial services office or
                      supervising officer.
                ) (p) participate in one of the following location restriction programs and comply with its requirements as directed.
                      ( 0 ) (i) Curfew. You are restricted to your residence every day ( 0 ) from                           to        _ _ , or ( 0 ) as
                                   directed by the pretrial services office or supervising officer; or
                      ( 0 ) (ii) Home Detention. You are restricted to your residence at all times except for employment; education; religious services;
                                  medical, substance abuse, or mental health treatment; attorney visits; court appearances; court-ordered obligations; or other
                                  activities approved in advance by the pretrial services office or supervising officer; or
                      ( 0 ) (iii) Home Incarceration. You are restricted to 24-hour-a-day lock-down at your residence except for medical necessities and
                                  court appearances or other activities specifically approved by the court.
          ( 0) (q) submit to location monitoring as directed by the pretrial services office or supervising officer and comply with all of the program
                      requirements and instructions provided.
                      (0 ) You must pay all or part of the cost of the program based on your ability to pay as determined by the pretrial services office or
                             supervising officer.
          (0 )      (r) report as soon as possible, to the pretrial services office or supervising officer, every contact with law enforcement personnel, including
                        arrests, questioning, or traffic stops.
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                             ADDITIONAL CONDITIONS OF RELEASE
( ~) (s)    $20,000.00 PRB; TRAVEL LIMITS INCLUDE THE SDNY/EDNY, EASTERN DISTRICT OF TENN. AND THE
           JURISDICTION WITHIN WHICH THE DEFENDANT MUST TRAVEL TO APPEAR IN THE SDNY;
           SURRENDER OF TRAVEL DOCUMENTS AND NO NEW APPLICATIONS; PRETRIAL SUPERVISION AS
           DIRECTED BY PTS; DEFENDANT IS TO SUBMIT TO A URINE ANALYSIS, IF POSITIVE ADD CONDITION
           OF DRUG TESTING AND TREATMENT; DEFENDANT IS TO CONTINUE OR START AN EDUCATION
           PROGRAM; DEFENDANT IS NOT TO POSSESS FIREARMS/ DESTRUCTIVE DEVICES OR OTHER
           WEAPONS; DEFENDANT TO BE RELEASED UPON OWN SIGNATURE; t\VOID EXCESSIVE USE OF
           ALCOHOL; SHALL NOT POSSESS ANY CONTROLLED SUBSTANCE UNLESS PRESCRIBED BY A
           HEALTHCARE PROVIDER; DEFENDANT IS TO BE RELEASED ON 4/29/19_ _             _  _   _
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,.'AO l 99C    (Rev. 09/08) Advice of Penalties                                                                Page_   _   of   _Pages
=======================================================================
                     ADVICE OF PENALTIES AND SANCTIONS

 TO THE DEFENDANT:                         JOHN LAMBERT                 19 MAG 3608                     April 29, 2019
 YOU ARE ADVISED OF THE FOLLOWING PENALTIES AND SANCTIONS:

        Violating any of the foregoing conditions of release may result in the immediate issuance of a warrant for your arrest, a
 revocation of your release, an order of detention, a forfeiture of any bond, and a prosecution for contempt of court and could result in
 imprisonment, a fine, or both.
        While on release, if you commit a federal felony offense the punishment is an additional prison term of not more than ten
        years
 and for a federal misdemeanor offense the punishment is an additional prison term of not more than one year. This sentence will be
 consecutive (i.e., in addition to) to any other sentence you receive.                                  '
        It is a crime punishable by up to ten years in prison, and a $250,000 fine, or both, to: obstruct a criminal investigation;
 tamper with a witness, victim, or informant; retaliate or attempt to retaliate against a witness, victim, or informant; or intimidate or
 attempt to intimidate a witness, victim, juror, informant, or officer of the court. The penalties for tampering, retaliation, or
 intimidation are significantly more serious if they involve a killing or attempted killing.
        If, after release, you knowingly fail to appear as the conditions ofrelease require, or to surrender to serve a sentence,
 you may be prosecuted for failing to appear or surrender and additional punishment may be imposed. If you are convicted of:
        (I) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more - you will be fined
              not more than $250,000 or imprisoned for not more than 10 years, or both;
        (2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years -you will be fined not
              more than $250,000 or imprisoned for not more than five years, or both;
        (3) any other felony- you will be fined not more than $250,000 or imprisoned not more than two years, or both;
        (4) a misdemeanor - you will be fined not more than $100,000 or imprisoned not more than one year, or both.
        A term of imprisonment imposed for failure to appear or surrender will be consecutive to any other sentence you receive. In
 addition, a failure to appear or surrender may result in the forfeiture of any bond posted.

                                                    Acknowledgment of the Defendant

        I acknowledge that I am the defendant in this case and that I am aware of the conditions of release. I promise to obey all
 conditions of release, to appear as directed, and surrender to serve any sentence imposed. I am aware of the penalties and sanctions
 set forth above.



 DEFENDANT RELEASED

                                                                            Defen ant JOHN     LAMBERT Signature -

                                                                                            City and State



                                                  Directions to the United States Marshal

  ( D)        The defendant is ORDERED released after processing.
  (D)         The United States marshal is ORDERED to keep the defendant in custody until notified by the clerk or judge that the
              defendant has posted bond and/or complied with all other conditions for release. If still in custody, the defendant must be
              produced before the appropriate judge at the time and place specified.


 Date:
                                                                                     Judicial Officer's Signature



                                                                                        Frtnted nnm12 nnd 11tl12
                            Case 1:19-mj-03608-UA Document 5 Filed 04/29/19 Page 7 of 8
·AO 199C (Rev. 09/08) Advice of Penalties                                                      Page_        of   _ _ Pages

•'                   DISTRIBUTION·      COURT   DEFENDANT   PRETRIAL SERVICE   U.S. ATTORNEY   US MARSHAL




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                              Case 1:19-mj-03608-UA Document 5 Filed 04/29/19 Page 8 of 8

     DOCKET No.           /   q ffc.. ~ ::2 ~ O'L                             DEFENDANT           )";;ko/t                  Lvtw1 b. (                  +
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     D _ _ _ _ _ _ _ _ INTERPRETER NEEDED
                                                                                         0 DEFENDANT WAIVES PRETRIAL REPORT

     ~ule 5         0 Rule 9 0 Rule 5(c)(3) 0 Detention Hrg.                     DATE OF ARREs:r ·-r/lv/"}
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                                                                    BAIL DISPOSITION
                                                                                                                        0 SEE SEP. ORDER
     0  DETENTION ON CONSENT W/O PREJUDICE      0 DETENTION: RISK OF FLIGHT/DANGER 0 SEE TRANSCRIPT
     0  DETENTION HEARING SCHEDULED FOR:
     0  AGREED CONDITIONS OF RELEASE     ---------
     0  DEF. RELEASED ON OWN RECOGNIZANCE
     r;&.$ 'L. 0 0 0 (.) PRB 0      FRP                                                         .
     0 SECURED BY$               CASH/PROPERTY:
     ~VEL RESTRICTED TO SDNYIEDNYI ~ .b. ~"' .,.-J--ht.---.-.d-M-.c-d&-.-~---M-i-t-•>'IA_!f,_,i,_w{,_4_·,-L-t?-v-tl.J..-~-
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     0 TEMPORARY ADDITIONAL TRAVEL UPON CONSENT OFA't*A & APPROVAL OFPRETRIAL SEKVICES                                            s 1)~\l 7 ?      .
     ~SURRENDER TRAVEL DOCUMENTS (&NO NEW APPLICATIONS)
     13-PRETRIAL SUPERVISION: D REGULAR D STRICT ~AS DIRECTED BY PRETRIAL SERVICES
     0 DRUG TESTINGITREATMT AS DIRECTED BY PTS 0 MENTAL HEAL TH EVAL/TREATMT AS DIRECTED BY PTS
     }'(DEF. TO SUBMIT TO URINALYSIS; IF POSITIVE, ADD CONDITION OF DRUG TESTING/TREATMENT

     0 HOME INCARCERATION      D HOME DETENTION     D CURFEW    0 ELECTRONIC MONITORING    0 GPS
     0 DEF. TO PAY ALL OF PART OF COST OF LOCATION MONITORING, AS DETERMINED BY PRETRIAL SERVICES

     0 DEF. TO CONTINUE OR SEEK EMPLOYMENT [OR] .JZ(DEF. TO CONTINUE OR START EDUCATION PROGRAM
     }{DEF. NOT TO POSSESS FIREARM/DESTRUCTIVE DEVICE/OTHER WEAPON

     0 DEF. TO BE DETAINED UNTIL ALL CONDITIONS ARE MET
     ~DEF. TO BE RELEASED ON OWN SIGNATURE, PLUS THE FOLLOWING CONDITIONS:----------
     - - - - - - - - - - - - - - - - - - - - ; R E M A I N I N G CONDITIONS TO BE MET B Y : - - - - -

     ADDITIONAL CONDITIONS/ADDITIONAL PROCEEDINGS/COMMENTS:
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     b DEF. ARRAIGNED; PLEADS NOT GUILTY                        0 CONFERENCE BEFORE D.J. ON _ _ _ _ __
     0 DEF. WAIVES INDICTMENT
     0 SPEEDY TRIAL TIME EXCLUDED UNDER 18 U.S.C. § 316l(h)(7) U N T I L - - - - - -

     For Rule 5(c)(3) Cases:
     0 IDENTITY HEARING WAIVED                                               0 DEFENDANT TO BE REMOVED
     0 PRELIMINARY HEARING IN SDNY WAIVED                                    0 CONTROL DATE FOR REMOVAL:------


     PRELIMINAR HE                                                           $-ON DEFENDANT'S CONSENT



                                                                                     UNITED STATES MAGISTRATE JUDGE, S.D.N.Y.
     ~(original)-     COURT FILE            £lliK - U.S. ATTORNEY'S OFFICE        YJ:J.J..mY - U S. MARSHAL             QREfil[ - PRETRIAL SERVICES AGENCY
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